                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF ALASKA

BRIAN HOLL, et al.,                )
                                   )
          Plaintiffs,              )
                                   )
v.                                 )
                                   )         Case No. 3:24-cv-00273 JLR
SHARON AVERY, et al.,              )
                                   )
          Defendants.              )
___________________________________)

                             (Proposed) ORDER

     IT IS ORDERED that plaintiffs’ motion requesting the court

to reconsider its Order (June 27, 2025) is GRANTED.

     Dated this ___ day of July, 2025




                                  ______________________
                                  JAMES R. ROBART
                                  United States District Judge




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